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             IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA,             )
CALIFORNIA, COLORADO,                 )
CONNECTICUT, DELAWARE, DISTRICT       )
OF COLUMBIA, FLORIDA, GEORGIA,        )
HAWAII, ILLINOIS, INDIANA, IOWA,      )
LOUISIANA, MARYLAND,                  )   Case No. 5:15-cv-6264-EGS
MASSACHUSETTS, MICHIGAN,              )
MINNESOTA, MONTANA, NEVADA, NEW       )
JERSEY, NEW MEXICO, NEW YORK,         )
NORTH CAROLINA, OKLAHOMA, RHODE       )
ISLAND, TENNESSEE, TEXAS, VIRGINIA,   )
WISCONSIN                             )
                                      )
Ex rel. CATHLEEN FORNEY               )
                                      )
                      Plaintiffs,     )
                                      )
     vs.                              )
                                      )
MEDTRONIC, INC.,
                                      )
                      Defendant.      )
                                      )


    DEFENDANT MEDTRONIC, INC.’S SUPPLEMENTAL MEMORANDUM IN
      FURTHER SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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                                       INTRODUCTION

       Before filing suit, Relator gave the Government a sizable stack of assorted Medtronic

documents. Included within the reams of paper she produced were certain high-level Medtronic

policies, various training materials, promotional materials describing Medtronic products and

services, handouts with coding and reimbursement information, and low-resolution printouts of

screenshots from various computer programs. By all accounts, Relator produced these

documents to the Government the same way she provided them to the Court: as an

undifferentiated document dump with no apparent organizational structure, and no explanation.

To take stock of this, the Court ordered Relator to file a supplemental memorandum

“identify[ing] specific documents . . . , contextualiz[ing] them, and explain[ing] how they

materially add to the transactions and allegations of fraud disclosed in Onwezen and Schroeder.”

(Order at 2, ECF No. 74).

       Relator’s Supplemental Brief does the exact opposite: she takes the documents entirely

out of context then selects small snippets of text—a phrase here, a bullet point there—to craft

narratives that are contrary to what the documents plainly convey. In so doing, Relator’s

Supplemental Brief confirms what was already apparent from the face of the documents. None

of these documents alleges or is indicative of wrongdoing. None of them evinces any false

claims for payment. And none of them materially adds to the prior public disclosures in the

Onwezen and Schroeder complaints. As a result, Relator does not qualify as an original source,

and summary judgment should be entered for Medtronic.

                                  PROCEDURAL POSTURE

       On December 2, 2011, the United States District Court for the District of Minnesota

unsealed a qui tam complaint filed against Medtronic by three co-relators led by Kathy

Onwezen. (Onwezen Unsealing Order, Ex. D, ECF No. 64). The Onwezen complaint alleged
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that the business model for Medtronic’s cardiac rhythm division depended on offering and

paying kickbacks in the form of device checks and other free services. (Onwezen Compl. ¶ 8,

Ex. E,,ECF No. 64). Specifically, the complaint alleged that Medtronic protected and expanded

its cardiac rhythm market share by promising physicians that if they implanted their patients with

Medtronic devices, then Medtronic would provide, for free, “substantially all device-related

post-implant medical care” for those patients. (Id. at ¶¶ 8, 68) (emphasis in original).

       Consistent with that promise, Medtronic representatives allegedly conducted device

checks wherever needed, including in physicians’ offices, at device-check clinics, and in

patients’ homes. (Id. at ¶¶ 68, 72-74). The Onwezen complaint stated that the practice of

providing free device checks was so pervasive that it was done for the “majority” of devices

Medtronic implanted, and that Medtronic representatives performed up to 40 device checks per

day. (Id. at ¶¶ 8, 78-82). The overarching goal of this supposed scheme, according to the

complaint, was for Medtronic to be a “one-stop-shop,” meaning that once a physician finished

implanting a device, Medtronic would handle as much of the future care for the patient as

possible, ideally obviating the need for the physician to even see the patient again. (Id. at ¶¶ 8,

70).

       The Onwezen complaint further alleged that Medtronic representatives handled all

aspects of the remote monitoring and billing processes associated with the devices they sold,

including by completing all necessary paperwork so that physicians and their staffs would not

need to. (Id. at ¶¶ 78-82, 95-104). Medtronic representatives also allegedly reviewed

physicians’ billing records and taught physicians how to maximize their reimbursement

payments for procedures involving Medtronic’s devices. (Id. at ¶¶ 75, 87-88).




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       The Onwezen complaint claimed that this company-wide scheme of conducting free

device checks and providing free reimbursement consulting services had been ongoing since at

least 1995, continued up through the present, and would continue into the future as patients

continually needed post-implant device checks and other follow-up care. (Id. at ¶¶ 3, 76).

       On May 27, 2014, the United States District Court for the Eastern District of California

unsealed a qui tam complaint filed against Medtronic by relator Adolfo Schroeder. (Schroeder

Unsealing Order, Ex. H, ECF No. 64). Schroeder alleged that Medtronic used kickbacks,

including in-kind services, to differentiate itself from its competitors, since Medtronic’s cardiac

rhythm devices “were not superior to other similar devices made by other companies on the

market.” (Def. Mot. Summ. J., Schroeder Compl. ¶ 7, Ex. I, ECF No. 64). Schroeder alleged

that the in-kind services Medtronic offered consisted of reimbursement advice and practice

management consulting, both of which were intended to increase physicians’ profitability. (Id. at

¶¶ 51, 74-75, 81).

       Regarding reimbursement advice, Schroeder alleged that Medtronic representatives

taught physicians how to bill Medicare, Medicaid, and private insurers for the purpose of

increasing sales of Medtronic’s devices. (Id. at ¶¶ 51, 74). To that end, Medtronic allegedly

incorporated the provision of free reimbursement advice into its business plans and sales pitches.

(Id.) Medtronic also allegedly developed and distributed written reimbursement materials to

facilitate this supposed scheme. (Id. at ¶ 73).

       Regarding business consulting, Schroeder alleged that Medtronic taught physicians how

to manage their practices efficiently and profitably. (Id. at ¶¶ 73, 81). Medtronic allegedly

distributed free instructional guidebooks that conveyed this advice. (Id.). Medtronic

representatives also allegedly promoted a “turn-key heart failure clinic business solution,” which




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taught cardiologists and hospitals how to use Medtronic’s pre-printed forms, templates, and

guides to operate clinics. (Id. at ¶ 81). In other words, Schroeder alleged that Medtronic

representatives provided comprehensive business consulting, for free, to induce sales of

Medtronic devices.

       In light of these significant public disclosures, the Court indicated in its Order dated April

3, 2018, that the Onwezen and Schroeder complaints are sufficient to trigger the False Claims

Act’s public disclosure bar here. (Order at 2). The Court further ordered the parties to brief

whether the documents Relator produced first to the Government and later to the Court qualify

her as an original source.

                                          ARGUMENT

               Relator does not come close to qualifying as an original source as to either the

device check or free business consulting services theories that Onwezen and Schroeder first

alleged. In order to have standing to continue this case, Relator would have needed to disclose to

the Government before filing suit information that adds in a significant way to the essential

factual background of the publicly disclosed allegations of fraud. The information Relator

produced, however, was an unremarkable stack of Medtronic documents that reflected routine

business operations. These documents do not add significant facts to the schemes Onwezen and

Schroeder disclosed, nor even say on their face what Relator claims in her Supplemental Brief.

These documents would not have a natural tendency to move the Government to action in light

of the prior public disclosures, and indeed did not do so. They are immaterial here as a matter of

law, and Medtronic’s Motion for Summary Judgment should be granted as a result.

I.     Controlling Precedent Sets a High Bar for Qualifying as an Original Source Here

       When, as here, the public disclosure bar is triggered, a qui tam relator can clear the bar

and avoid dismissal of her case only if she qualifies as an original source. 31 U.S.C. §


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3730(e)(4)(A). The statute defines an “original source” as one “who has knowledge that is

independent of and materially adds to the publicly disclosed allegations or transactions, and who

has voluntarily provided the information to the Government before filing an action under this

section.” Id. at (e)(4)(B).

       The leading case in the Third Circuit on what it means to “materially add” to a prior

public disclosure is United States ex rel. Moore & Co., P.A. v. Majestic Blue Fisheries, LLC, 812

F.3d 294 (3d Cir. 2016). In Moore, the Third Circuit held that a relator qualifies as an original

source if the information she provided to the government before filing suit “contribute[s]

significant additional information to that which has been publicly disclosed so as to improve its

quality.” Id. at 306. For further guidance on distinguishing the material from the immaterial, the

Third Circuit looked to Rule 9(b)’s pleading requirements and concluded that information

“materially adds” to a prior public disclosure if it “adds in a significant way to the essential

factual background: ‘the who, what, when, where, and how’ of the events at issue.” Id. at 306-

07.

        Since the Third Circuit decided Moore in February 2016, there has been additional,

controlling precedent on the meaning of the term “material” within the context of the FCA. Four

months after the Third Circuit issued its decision in Moore, the Supreme Court decided

Universal Health Servs. v. United States ex rel. Escobar, 136 S. Ct. 1989 (2016). In Escobar,

the Supreme Court held that, “[u]nder any understanding of the concept, materiality looks to the

effect on the likely or actual behavior of the recipient of the alleged misrepresentation.” Id. at

2002 (internal quotation marks and alterations omitted). Although Escobar was interpreting the

term “material” as it is used in the liability provisions of the FCA, Escobar’s definition of

“material” is equally applicable to the public disclosure bar because, as both the Supreme Court




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and the Third Circuit have held, materiality is a unitary concept; it always has the same meaning.

Id.; United States ex rel. Spay v. CVS Caremark Corp., 875 F.3d 746, 763 (3d Cir. 2017).

       Following Escobar, a relator “materially adds” to a prior public disclosure if the new

information she provided to the Government before filing suit would have a “natural tendency to

influence” the Government’s decisions. See 136 S. Ct. at 2002; United States ex rel. Winkelman

v. CVS Caremark Corp., 827 F.3d 201, 211 (1st Cir. 2016) (applying Escobar to the original

source provision of the public disclosure bar). This is a “rigorous” requirement. Escobar, 136 S.

Ct. at 2002, n.6. It is also, by necessity, a comparative inquiry that evaluates the significance of

the new information against the totality of the prior public disclosures. See Winkelman, 827 F.3d

at 211 (“As the level of detail in public disclosures increases, the universe of potentially material

additions shrinks.”); United States ex rel. Freedom Unlimited, Inc., v. City of Pittsburgh,

2:12cv1600, 2016 WL 1255294, at *23-24 (W.D. Pa. Mar. 31, 2016), vacated, 17-1987, 2018

WL 1517159 (3d Cir. Mar. 28, 2018) (remanding the public disclosure bar ruling for

development of factual record and summary judgment, and vacating on other grounds)

(following Moore and comparing relator’s new information “against the backdrop of information

that cumulatively was [publicly] disclosed” before relator filed suit).

       Although Moore was decided before Escobar, the reasoning in Moore fits within the

framework for materiality that Escobar establishes. In Moore, the theory of liability was that the

defendants fraudulently obtained fishing licenses by falsely claiming that U.S. citizens controlled

certain LLCs and captained certain fishing vessels. 812 F.2d at 296. The qualifying public

disclosures consisted of two unrelated news articles published on the internet suggesting foreign

control of the LLCs and foreign command of the vessels, as well as separate FOIA documents

showing defendants’ representations that U.S. citizens were at the helm of each company and




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each ship. Id. at 301-04. The court held that when pieced together, these disparate sources were

sufficient to raise an inference of fraud and thereby trigger the public disclosure bar. Id. at 303-

04.

         The relator in Moore qualified as an original source by providing voluminous additional

facts. Id. at 306. Before commencing the qui tam action at issue in Moore, the relator sued the

defendants in a separate wrongful death action. Id. Drawing on the extensive information that

the relator learned through civil discovery in that earlier case, the relator disclosed specific

details as to how the fraud was conducted, including the identities of the foreign nationals who

truly controlled the LLCs and the vessels, the details of the sham transactions used to hide their

true ownership stakes, and that a fictitious “manager” of the LLCs initiated the applications for

the fishing licenses. Id. at 307-08. The prior public disclosures revealed the skeletal outline of a

potential fraud. The new information that the relator provided put meat on the bones, detailing

the precise “who, what, where, when, and how” of the gravamen of the scheme. Id. at 307.

         Together, Moore and Escobar set a high bar for Relator to qualify as an original source

here—one she does not come close to clearing. Unlike the public disclosures at issue in Moore,

the disclosures here were not a limited assortment of puzzle pieces that, when correctly

assembled, gave rise to an inference of fraud. The disclosures here were direct allegations of

fraud in detailed complaints that were served on, and prompted investigation by, the

Government. (Pl.’s Opp. to Mot. Summ. J., Ex. 5; Ex. 6, ECF No. 69,). After completing its

investigations, the Government intervened in both cases and settled with Medtronic as to

allegations other than the device check and consulting services theories.1 (Id.) Given the nature



1
  Relator’s argument that these prior settlements demonstrate that Medtronic knowingly paid kickbacks in the form
of free services misrepresents the settlement documents. In the settlement agreement, the Government did not allege
that device checks or free consulting services constituted illegal remuneration or were part of the conduct covered by


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and extent of these prior public disclosures, to significantly add to those disclosures in a way that

would be sufficient under Moore, Relator would need to have added significant facts that show

something critical for the first time about the heart and workings of the alleged scheme. See

Moore, 812 F.3d at 307-08. It is this sort of information that would have a “natural tendency to

influence” the decision the Government faced when evaluating the documents Relator

produced—that is, the decision whether to re-open an investigation and/or to intervene in the

case. See Escobar, 136 S. Ct. at 2002 (holding that materiality is to be assessed from the

standpoint of the relevant decision-maker with respect to the decision at hand). Because Relator

did not provide the Government with information of that kind or quality, as evidenced, in part,

by the Government’s lack of further action in response to her disclosures, she does not qualify as

an original source, and judgment should be entered for Medtronic. See id. at 2003-04 (holding

that the Government’s failure to act is strong evidence against materiality).

II.      Relator Forney Is Not an Original Source as to the Device Check Theory.

         A.       Viewed in their Entirety, the Documents Relator Provided to the
                  Government Do Not Materially Add to the Allegations in Onwezen.

         At its core, the Onwezen complaint alleged that Medtronic’s entire cardiac rhythm

business model was based on the payment of in-kind kickbacks in the form of device checks and

other post-implant services. According to Onwezen, the principal players in this scheme—the

“who,” as Moore puts it—were Medtronic’s entire field sales force. (See Onwezen Compl. ¶¶ 8,

68, 78-82, Ex. E, ECF No. 64). The “where” was nationwide. (See id.) The “when” was an

ongoing practice dating back more than a decade and continuing into the foreseeable future. (Id.

at ¶¶ 3, 76). The mechanics of the alleged scheme—the “what” and the “how”—was to offer a




the agreement. (Pl.’s Opp. to Mot. Summ. J., Ex. 5 at 2, ECF No. 69,). If anything, these prior settlements indicate
that Relator is opportunistically pursuing a theory that the Government itself has declined to endorse.


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comprehensive, soup-to-nuts process of handling all post-implant follow-up care, billing, and

paperwork for all implanted devices. (Id. at ¶¶ 8, 70).

       Nothing Relator disclosed to the government before filing suit materially adds to the

picture of the alleged scheme painted by the Onwezen complaint. In her Supplemental Brief,

Relator points to computer printouts of device check schedules, a handful of emails and

voicemail transcripts in which device checks are discussed, and printouts from Google Calendar.

(Pl.’s Supplemental Br. at 8-13, ECF No. 75). Relator argues that these documents show “who”

was conducting device checks (the individuals named within them), on whose behalf the device

checks were conducted (the hospitals named), and “where” and “when” device checks occurred.

(Id.) At best, these documents collectively indicate that the company-wide practice of

conducting device checks, which was publicly alleged by Onwezen, also occurred in Eastern

Pennsylvania, and was carried out by the specific field representatives who worked there. These

micro-level details do not materially add to the macro-level description of fraud that Onwezen

publicly disclosed, because they are fully anticipated and encompassed by Onwezen: an alleged

scheme involving the entire, company-wide field sales force logically encompassed Eastern

Pennsylvania and the specific people who worked there. See Winkelman, 827 F.3d at 212

(holding that relator did not qualify as an original source because allegations of (1) specific

instances of the same alleged scheme, and (2) new states in which the same scheme allegedly

occurred were not material additions); United States ex rel. Zizic v. Q2Administrators, LLC, 728

F.3d 228, 238 (3d Cir. 2013) (holding that, under the pre-PPACA public disclosure bar,

revealing the identity of the person responsible for executing a fraudulent scheme was

insufficient to clear the bar in light of prior disclosures of the mechanics of the fraud); cf. Moore,




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812 F.3d at 307-08 (holding that relator qualified as an original source because it revealed the

precise, previously undisclosed mechanics of how the fraudulent scheme was implemented).

       Relator nevertheless devotes a significant portion of her Supplemental Brief to cataloging

the names printed on the documents she provided to the Government before filing suit. (Pl.’s

Supplemental Br. at 8-13). Relator’s position appears to be that each name constitutes a chit

added to the “who” bucket, and that the total number of chits must amount to a material addition.

Unlike the Relator in Moore, who used civil discovery to uncover the undisclosed mechanics of

the fraud and reveal the identities and roles of the previously unknown principals in the

conspiracy, 812 F.2d at 307-08, Relator is merely pointing to anyone and everyone who worked

in the field for Medtronic’s cardiac rhythm business. This cumulative evidence showing that

many people worked for Medtronic does not add “in a significant way to the essential factual

background.” Id. at 307 (emphasis added).

       The absurdity of this exercise of treating each and every name as significant is aptly

demonstrated by Relator’s reliance on a letter offering a Principal Clinical Specialist position to

Richard C. (Pl.’s Supplemental Br. at 10) (citing REL-0682). The trivial fact that Richard C.,

whoever he is, was offered a job as a clinical specialist is not material as a matter of law, because

it would not have any bearing on the Government’s decisions as to whether to intervene in this

case or to investigate Relator’s allegations. See Escobar, 136 S. Ct. at 2002. Onwezen had

already publicly disclosed that every clinical specialist at Medtronic was offering to perform

device checks. That one of the clinical specialists was named Richard is simply irrelevant. By

that same token, the identities of other people who worked for Medtronic’s cardiac rhythm

business in Eastern Pennsylvania are equally immaterial in light of the bread of disclosures in

Onwezen.




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       At other points in her Supplemental Brief, Relator argues that the documents she

provided to the Government are material additions because they pertain to later points in time

than the allegations in Onwezen. (Pl.’s Supplemental Br.at 8). This is also a dead end. In

Winkelman, the leading case interpreting the public disclosure bar post-Escobar, the public

disclosures established that the pharmacy chain CVS took the position that certain price

discounts did not need to be reported to Medicaid. 827 F.3d at 212. The relators argued that

they qualified as original sources because their allegations established that CVS continued to

hold that position later in time than had previously been disclosed. Id. The court summarily

rejected this argument, holding that the prior public disclosure gave “every reason to think that

CVS’s scheme would [continue] past the date” of the prior disclosures. Id. Here, the fact that

the prior public disclosures gave every reason to think that Medtronic would continue to provide

device checks is even stronger, since the Onwezen complaint alleged free device checks were a

core business practice of the cardiac rhythm division that had been ongoing for years, was still

ongoing, and would last the lifetime of the implanted devices. (Onwezen Compl. at ¶¶ 3, 76).

This was not just a strongly held corporate position, as the public disclosures in Winkelman were,

but supposedly part of the cardiac rhythm divisions’ daily operations. As a result, Relator does

not materially add to the Onwezen disclosures by extending the timeframe by a few years. See

Winkelman, 827 F.3d at 212; United States ex rel. Judd v. Quest Diagnostics Inc., 638 Fed.

App’x 162, 168 n.7 (3d Cir. 2015) (holding that relator did not materially add to prior public

disclosures by alleging that the fraud continued); United States v. Medco Health Sols., Inc., CV

11-684-RGA, 2017 WL 4838410, at *6 (D. Del. Oct. 26, 2017) (following Moore and Judd, and

holding that relator did not materially add to prior public disclosures by alleging that conduct

continued). Relator does not cite any cases to the contrary.




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       Relator also does not advance her cause by claiming that the documents she produced to

the government corroborate the device check allegations that Onwezen publicly disclosed. As a

threshold matter, the documents Relator gave the government do not corroborate Onwezen’s

allegations. As discussed more fully in Section II.B., below, these documents do not show that

device checks were actually performed by Medtronic representatives as an inducement to

purchase Medtronic’s products. They do not show management instructing representatives to

conduct device checks for that purpose. Nor do they contain any payer or billing information

from which one might infer that claims were submitted to government healthcare programs.

What the documents actually show are device check schedules and incidental discussions of

device checks. At best, this meager evidence is generally consistent with what Onwezen alleged;

it is not corroborative. Regardless, even if these documents were corroborative, Relator still

would not qualify as an original source, because information that confirms or corroborates a

publicly disclosed allegation is not a material addition. See Winkelman, 827 F.3d at 213.

       B.      The Documents Relator Forney Provided to the Government Are Vague and
               Irrelevant, Not Material Additions to the Device Check Theory Onwezen
               Disclosed.

       As the foregoing demonstrates, the documents Relator provided to the Government

before filing suit do not constitute material additions to the comprehensive allegations publicly

disclosed by the Onwezen complaint. That analysis alone is sufficient to warrant the conclusion

that Relator does not qualify as an original source as to the device check theory. But the

deficiencies with Relator’s pre-filing production to the Government run deeper still. In

particular, these documents do not on their face support either Relator’s theories of liability or

the assertions she makes about their contents in her Supplemental Brief.

               1.      Computer Screenshots

       Relator characterizes the various computer printouts she produced to the Government as a


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“treasure trove of material information about the details regarding Medtronic’s actual payment of

kickbacks.” (Pl.’s Supplemental Br. at 7). A cursory review of these documents reveals them to

be anything but that.

       The first set of documents Relator points to is a collection of data sheets, primarily from

implant surgeries, that is interspersed with screenshots of schedules purportedly from the

Dropbox computer program. (See Pl.’s Supplemental Br. at 9-11). Relator argues that a

schedule Bates-stamped REL-02254 shows that “Medtronic representative Chuck Mertz

conducted a device check clinic” at “Quakertown” and “Windgap” on various dates for various

numbers of patients. (Id. at 9).

       But this document does not say any of those things. The name Chuck Mertz does not

appear anywhere on the document. (See Pl.’s Opp. to Mot. Summ. J., Ex. 17 at REL-02254).

The document does not say anything about device check clinics at either Quakertown or

Windgap. (Id.) The document does say that device checks were scheduled at Windgap, but

there is no indication of who conducted those device checks, or even whether they were actually

performed, as opposed to merely scheduled. (Id.) There is no mention of device checks at all at

Quakertown, just time slots and associated patient tallies. (Id.) Relator further states that this

document lists the names of four patients who had their devices checked at Quakertown, (Pl’s

Supplemental Br. at 9), but there is nothing on the face of this document identifying the

individuals named as patients or specifying that they were scheduled to have their devices

checked, (Pl.’s Opp. to Mot. Summ. J., Ex. 17 at REL-02254). The second example of a similar

schedule that Relator cites—REL-02257-02258—suffers from the exact same deficiencies.

       The other documents from this set are similarly unhelpful to her cause. Relator claims

that the documents marked REL-2264, -2265, -2270, and -2272, “establish Marla Lyon provided




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free services at St. Luke’s.” (Pl.’s Supplemental Br. at 10). Each one of those documents,

however, is a data sheet that appears to relate to an implant surgery, not a device check. Each

one lists the “Location of Surgery,” the “Date of Surg[ery].” and the “Implanting Phys[ician].”

(Pl.’s Opp. to Mot. Summ. J., Ex. 17 at REL-2264-65; -2270; -2272). Relator is not pursuing the

theory that attending an implant surgery constitutes a kickback, (see Pl.’s Supplemental Br. at 10,

n.2), so these documents are completely irrelevant to the claims that remain in this case.

         It is theoretically possible that Relator or some other witness could have provided

additional information about these documents. That would only be relevant, however, if before

filing suit Relator had in fact provided such information to the Government along with the

documents. See 31 U.S.C. § 3730(e)(4)(B). But that is not what happened. Instead, as Relator’s

own declaration establishes, she produced a stack of documents with no explanation or

accompanying testimony. (Pl.’s Opp. to Mot. Summ. J., Ex. 16 at ¶ 5, ECF No. 69). These

documents are not only immaterial given the broad disclosures in Onwezen, they are effectively

worthless in the form in which they were produced.2

                  2.       Emails and Voicemail Transcripts

         The only communications Relator produced to the Government before filing suit is a

small collection of emails and rough transcripts of voicemails. (See Pl.’s Opp. to Mot. Summ. J.,

Ex. 17 at REL-02271-74; -01418-01458). None of these documents show Medtronic conducting

device checks as a form of in-kind remuneration.

         Several of the emails Relator cites are requests, possibly from providers although that is

not always clear, for assistance with device checks or other post-implant procedures. (See id. at



2
 As discussed in Section II.A., above, even if Relator or another witness had provided explanations of these
documents, she still would not qualify as an original source, since specific examples of device checks do not
materially add to the contours of the fraud alleged by Onwezen.


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REL-01419, -01421, -01422, -01426, -01451). There are no indications on the face of these

documents that those requests were granted. Nor is there any indication that the requests

themselves were improper. There is, for example, no suggestion of any quid pro quo.

       This is particularly significant because a number of the documents Relator cites suggest

completely innocent explanations, even under Relator’s theory, for why Medtronic’s assistance

may be needed with a particular device check or another form of product support. For example,

one email asks for help because a Carelink unit was not transmitting data. Id., Ex. 17 at REL-

01424; -01429. As another example, one voicemail transcript, Ex. 17 at REL-01419, seems to

ask whether the attendance of a Medtronic representative was needed in connection with a

surgery unrelated to the patient’s device, similar to how Medtronic representatives attended

implant surgeries. The caller explains that a patient with a Medtronic pacemaker/defibrillator

was scheduled for a total knee replacement. (Id.) The caller then asks whether the voicemail

recipient “need[s] to come in for that[, or] if we can just But AM back now and then or whatever

[sic].” (Id.) To the extent this transcript is even intelligible, it appears to ask whether the

Medtronic pacemaker/defibrillator patient’s knee replacement surgery required the attendance of

a Medtronic representative. This was a request for information pertinent to a patient’s medical

procedure, not the solicitation of a kickback. And there is not even any indication as to what the

Medtronic representative said in response.

       In sum, Relator provided to the Government a smattering of emails and voicemails

regarding device checks. None of those documents suggests on its face an improper purpose for

the checks, while a few appear to describe conduct that Relator takes no issue with at all. (See

Tr. of Oral Arg. at 47:19 – 48:25, ECF No. 46) (conceding that responding to requests for

technical support does not constitute remuneration). These documents muddy Relator’s own




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case. They do not materially add to the broad, detailed allegations publicly disclosed by

Onwezen.

               3.      Google Calendar Documents

       As with the initial round of briefing and oral argument, Relator once again contends that

the printouts of Google Calendar records from her Eastern Pennsylvania district materially add to

the prior public disclosures. These documents, however, contain very little information. The

Google Calendar entries show only when device checks were scheduled. They do not show

whether any particular device check was performed, and as Relator admitted at her deposition,

she does not know whether any of these procedures were performed. (See Def. Mot. Summ. J.,

Ex. L, Forney Tr. 244:8 – 245:18, ECF No. 64). Further, like all of the other documents Relator

gave the Government, the Google Calendars contain no information whatsoever regarding payers

or claims for payment. These arguments as to the immateriality of the Google Calendars

featured prominently during the initial round of briefing and at oral argument, yet Relator offers

no answer to them in her Supplemental Brief.

       Instead, Relator, for the first time, asserts that the Google Calendars contain “material

information about how Medtronic ran clinics.” (Pl.’s Supplemental Br. at 12) (citing Ex. 17 at

REL-01683-686). The calendars contain no such explanatory information. As they do with

device checks, the calendars merely indicate when clinics were scheduled. (See, e.g., Ex. 17 at

REL-01683). They do not state that a Medtronic representative ran or even attended any clinic—

much less provide a narrative as to how device clinics operated. (Id.)

               4.      Performance Evaluation Criteria and Compensation Plans

       Relator claims that the few performance evaluation and compensation plan documents

she produced show that “Medtronic evaluated and compensated Medtronic sales staff in ways

that financially incented sales staff to promote constantly the kickbacks (‘services’) to physicians


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and hospitals.” (Pl.’s Supplemental Br.at 2). Once again, the documents themselves bear no

resemblance to Relator’s characterizations. And it is the document’s themselves, not Relator’s

counsel’s self-serving characterization of them, that matters here. See, e.g., Thornton v. United

States, 493 F.2d 164, 167 (3d Cir. 1974) (“A statement in a brief or in oral argument does not

constitute evidence.”). The clinical specialist performance management guide that Relator

produced sets forth the expectations that clinical specialists provide product support during

implant surgeries, “troubleshoot all devices competently and effectively,” and “[e]ducate[] and

train physicians, hospital personnel, and office staff on technical matters relating to our products

and therapies.” (Pl.’s Opp. to Mot. Summ. J., Ex. 17 at REL-01238). Relator quotes one bullet

point from this document that states representatives should “translate customer needs into

Medtronic solutions.” (Id. at REL-01240). Nothing in this document elaborates on what,

precisely, that means, but in light of the whole document there is no reason to conclude it means

anything other than serving as an effective ambassador and promoter for the company.

       Relator claims that the compensation plans she produced incented representatives to offer

kickbacks in the form of free services, yet she does not even bother to explain her theory as to

why that is so. (Pl.’s Supplemental Br. at 18-19). The documents themselves, of course, say

nothing about offering free services to induce purchases. (See Pl.’s Opp. to Mot. Summ. J., Ex.

17 at REL-0590-651). Nor do the “sales contest” documents she cites draw any connection

between device checks and sales. (Id. at REL-00642-45; REL-01872-74).

III.   Relator Forney Is Not an Original Source as to the Consulting Services Theory.

       Collectively, the Onwezen and Schroeder complaints alleged that Medtronic provided

two types of consulting services as a form of in-kind remuneration. First, both complaints

alleged that Medtronic representatives provided physicians with advice and assistance regarding

billing and reimbursement. Second, Schroeder additionally alleged that Medtronic provided


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extensive business management consulting services for free. The documents Relator produced to

the Government do not materially add to these disclosures.

       A.      Relator Does not Materially Add to the Publicly Disclosed Allegation that
               Medtronic Provided Free Reimbursement Services.

       The documents Relator produced to the Government regarding Medtronic’s alleged

reimbursement services were an assortment of pamphlets and instructional booklets listing the

billing codes for Medtronic’s devices. (Id. at REL-00001-133; REL-00270-406). Putting aside

the point that HHS-OIG has advised that companies can provide reimbursement advice like this

for free because it has “no substantial independent value” to the purchaser, HHS-OIG

Compliance Program Guide (2003) at 19, none of these documents added in any way to the prior

public disclosures. Schroeder specifically alleged that Medtronic developed and distributed

written reimbursement materials. (Def. Mot. Summ. J., Schroeder Compl. at ¶ 73, Ex. I). For its

part, Onwezen claimed that Medtronic’s reimbursement practices went far beyond distributing

coding booklets like those Relator produced. According to Onwezen, Medtronic representatives

provided personalized billing advice to physicians and actually completed billing paperwork.

(Id., Onwezen Compl. at ¶¶ 78-82, 87-88, 95-104, Ex. E). Relator’s production of these

reimbursement guides to the Government merely rehashed a portion of what was already

publicly alleged. It thus fell far short of being a material addition. See Winkelman, 827 F.3d at

212 (“Offering specific examples . . . does not provide any significant new information where the

underlying conduct has been publicly disclosed.”).

       Perhaps sensing that these reimbursement guides do not help her clear the public

disclosure bar, Relator argues in her Supplemental Brief that a slide deck she produced regarding

new Medicare codes reveals a previously undisclosed aspect of the supposed scheme.

Specifically, she argues that Medtronic instructed sales representatives to conduct device checks



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only when physicians were present in the office so that the physicians could claim that they

exercised “direct supervision” over the check and could thus bill Medicare for it. (Pl.’s

Supplemental Br. at 19-20).

       There are two insurmountable problems with this argument. First, the slide deck she

produced does not say anything at all about Medtronic representatives conducting device checks,

or what supervision requirements they should follow when doing so. (See Pl.’s Opp. to Mot.

Summ. J., Ex. 17 at REL-01169). The deck merely explains the new Medicare codes and the

supervision requirements that must be followed, according to Medicare program rules, in order

for physicians to bill those codes. (Id.)

       Second, the theory that Medtronic representatives conducted device checks so that

physicians could bill more money to Medicare is not a theory that Relator has alleged in this

case. Not one of the three complaints that she filed alleges that physicians billed Medicare for

services that Medtronic performed, or that device checks otherwise enabled physicians to

increase their Medicare billings. Her theory has consistently been that free device checks saved

physicians the hassle and expense of conducting the checks themselves or with their own staff.

(See, e.g., Second Amended Complaint, ¶ 1, ECF No. 42). The only connection she alleged

between the supposed kickbacks and Medicare billing was the claim that receipt of the alleged

kickbacks caused physicians to falsely certify their compliance with the Anti-Kickback Statute

when they submitted claims for payment. (Id. at ¶ 2). Relator cannot amend her complaint in a

supplemental brief in support of summary judgment. See OTA P'ship v. Forcenergy, Inc., 237

F.Supp.2d 558, 561 n. 3 (E.D.Pa.2002) (holding that a new claim that was first raised in

opposition to a motion for summary judgment was “too late”). Nor can she be an original source

as to a theory she has not brought.




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       B.      Relator Does Not Materially Add to the Publicly Disclosed Allegation that
               Medtronic Provided Free Business Management Consulting Services.

       In one short section of her Supplemental Brief, Relator argues that the assortment of

consulting-related documents she provided to the Government disclosed materially new

information about Medtronic’s alleged practice of providing free business consulting services.

(Pl.’s Supplemental Br. at 13). A quick review of each document she cites demonstrates that not

one of these documents told the Government anything about any free services. As a result, they

do not even support Relator’s theory, let alone materially add to the allegations disclosed in

Schroeder.

       Relator first argues that the two “Lean Sigma” pamphlets she produced to the

Government are material additions because they revealed the identities of the consultants who

provided free “Lean Sigma” business management consulting services. (Id. at REL-01773-87).

Although one of the pamphlets does identify a roster of consultants, neither pamphlet says

anything whatsoever about free consulting services. To the contrary, both pamphlets refer to the

clients for these consulting engagements as “customers,” strongly implying that the services

rendered were not free. (Id. at REL-01773; -01777). That inference is amplified by the overall

appearance of these pamphlets, which suggests that they are marketing materials used to sell

consulting services. That Medtronic undertook paid consulting work is demonstrated by another

document Relator produced to the Government and cited in her brief, REL-00521, which

advertises “business intelligence and strategic insights” as part of the “fee-based service” called

HEARTmark. (emphasis added).

       Relator’s counsel argues that the documents Bates-stamped REL-00471-484; -00492-508

are “worksheets created for free by Medtronic.” (Id. at 13). But, as with so many of the

documents Relator produced, there is nothing in either document that identifies it as such. In any



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event, Schroeder previously disclosed the allegation that Medtronic provided worksheets and

templates to hospitals, (Def. Mot. Summ. J., Schroeder Compl. at ¶ 81, Ex. I), so even if these

documents did show on their face that there were consulting services provided for free, that still

would not add anything material to the public disclosures from Schroeder.

       Finally, Relator argues that she gave the Government examples of hospital credentialing

agreements and the names of the senior managers involved in the alleged consulting services

scheme. (Pl.’s Supplemental Br. at 13-14) (citing Ex. 17, REL-2512-14, REL-02515-17, REL-

02520, REL-02991, REL-02292-95). However, that assertion is contradicted by Relator’s own

declaration, which indicates that those documents were not included in her production to the

Government. (See Pl.’s Opp. to Summ. J., Ex. 16, Decl. of Cathleen Forney) (stating that the

production to the Government ended at Bates number REL-02274). Since these documents were

not given to the Government before Relator filed suit, they cannot qualify her as an original

source. See 31 U.S.C. § 3730(e)(4)(B).

IV.    The “Value Based Service” Materials Do Not Materially Add to the Publicly
       Disclosed Allegations of Device Checks or Free Consulting Services.

       In her Supplemental Brief, Relator leans heavily on excerpts from several “Value Based

Service” (VBS) workbooks to argue that she materially added to the “what” and

“how” of the alleged device-check and free-consulting-services schemes. (Pl.’s Supplemental

Br. at 14-18). There are two fatal defects with this argument. First, all of the VBS documents

were dated in either 2006 or 2008, two to four years before the time period at issue in this case.

(See Pl.’s Opp. to Summ. J., Ex. 17 at REL.-01916; -02017; -02147). Nothing in the materials

that Relator provided to the Government indicates that these documents were in use at any point

after March 2010, which is as far back as the conduct now at issue in this case extends. To the

extent these documents provide evidence of anything, they are stale and legally irrelevant to



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Relator’s claims. Cf. Stewart v. Rutgers, State Univ., 120 F.3d 426, 433-34 (3d Cir. 1997)

(holding that evidence from outside the limitations period is admissible only if there is a logical

connection to claims within the period). They therefore do not materially add to the prior public

disclosures. Second, reading the VBS documents in context reveals that they are innocuous, do

not support Relator’s theories, and do not remotely reflect Relator’s counsel’s characterizations

of them.

       A.      The VBS Workbooks Reflect Sales Communication Training, Not a
               Conspiracy to Pay Kickbacks.

       The VBS workbooks, which are all copyrighted by the sales-training company

Huthwaite, Inc. (See Pl.’s Opp. to Summ. J., Ex. 17 at REL.-01916; -02017; -02147), were

intended to teach Medtronic representatives Huthwaite’s trademarked “SPIN model” of sales

communication, (see id.). As the workbooks explain, “SPIN” is an acronym for “Situation

Questions,” “Problem Questions,” “Implication Questions,” and “Need-Payoff Questions.” (Id.

at REL-02030). The basic idea is that salespeople will be more effective if they use targeted

questions to uncover customers’ needs, and then propose solutions to those needs in the form of

the products they are selling. (See, e.g., id. at REL-02028) (“Huthwaite research has shown that

questioning is a more persuasive approach for introducing the value of the product or service

than telling the customer about the value.”) (emphasis in original).

       Situation Questions are used to learn basic information about the customer. (Id. at REL-

02022). Examples include, “How many clinicians do you have on staff? How do you monitor

your heart failure patients?” (Id.). Problem Questions are used to uncover customers’

dissatisfaction with some current state of affairs; for example, “Are you worried about the

quality you get from your equipment?” (Id. at REL-02023). Implication Questions are used to

“assist the customer in developing a better understanding of the consequences of [a problem].”



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(Id. at REL-02026). As Huthwaite instructs, “[a]s a result of well-focused Implication

Questions, the customer sees the problem as more important, and hence becomes more

committed to finding a solution.” (Id.). Need-Payoff Questions provide the customer with a

framework for thinking about the solution, hopefully priming them to act on the solution the

salesperson will soon propose. (Id. at REL-02028).

       Once the salesperson has asked enough SPIN questions, they attempt to close the deal by

selling the product’s “Features,” “Advantages,” or “Benefits.” (Id. at REL02032). For instance,

a Medtronic salesperson might say, “The Medtronic Kappa® Family of pacemakers adapts

pacing therapies to a patient’s individual needs, providing personalized therapy and making

pacemaker check-ups more efficient.” (Id.)

       The VBS materials consist of a pre-reading packet that summarizes the SPIN Model (id.

at REL-02016-02037), a participant workbook with further instructions and exercises to test

one’s understanding of the concepts (id. at REL-02038-02102), and a roleplaying workbook

evidently used to simulate sales situations, with one participant playing the seller and another

playing the buyer, (id. at REL-01915-02015).

       In sum, these documents reflect banal, consultant-driven, corporate sales training. No

reasonable person would mistake them for the kickback guidebooks Relator’s counsel

breathlessly proclaims them to be. (See Pl.’s Supplemental Br. at 14-18 ).

       B.      Relator Takes Snippets of the VBS Workbooks Out of Context in a Failed
               Attempt to Show a Material Addition to the Prior Public Disclosures.

       Relator’s counsel’s arguments regarding the VBS workbooks all follow the same pattern:

first, she takes a quotation out of context; next, she extrapolates with florid flights of imagination

about what that language might theoretically mean. Relator’s first argument is that the VBS

materials show that Medtronic management knew that they could not compete based on the



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quality of their devices. She bases that assertion entirely on the statement that a “pervasive lack

of perceived differentiation” is one of the challenges facing the cardiac rhythm market. (See

Pl.’s Supplemental Br. at 14) (citing Ex. 17, REL02152). Not only is Relator’s counsel’s

sweeping statement not supported by this single line of text taken out of context, but it is flatly

contradicted by the remainder of the VBS materials. One of the primary objectives of the VBS

program was to teach representatives how to combat the perceived lack of product differentiation

by educating customers on the advantages of Medtronic’s devices. After asking “SPIN”

questions, representatives were instructed to teach customers about how the “Features,”

“Advantages,” and “Benefits” of Medtronic’s products would help solve a need they possessed.

(Id. at REL-02032). Consistent with this objective, the materials speak at length about the

clinical benefits of Medtronic’s products (id. at REL-01919-20), state that Medtronic’s mission is

“[d]esigning, manufacturing, selling and supporting the highest quality, most reliable products

we know how to make” (id. at REL-01922), and tout the state-of-the-art product innovations that

Medtronic first brought to market, (id. at REL-01922-23). To say that the VBS documents show

that Medtronic was competing based on free services rather than the merits of its products is

simply wrong. Furthermore, Schroeder already alleged that Medtronic’s cardiac rhythm devices

“were not superior to other similar devices made by other companies on the market,” (see Def.

Mot. Summ. J, Schroeder Compl. ¶ 7, Ex. I), so even if one were to take Relator’s counsel’s

tortured and completely inaccurate reading of the VBS materials at face value, she still would not

be materially adding to the prior public disclosures.

       Relator similarly claims that Medtronic acknowledged that it could not compete on price,

by quoting a passage that discusses the “disadvantages of focusing on price when making

decisions about medical devices.” (Pl.’s Supplemental Br.at 14) (citing Ex. 17, REL-01964). As




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the very next page of the exercise reveals, the larger point about pricing was that, unlike some

other (unnamed) manufacturers, Medtronic does not simply “encourage the use of high-end

devices in all situations.” (Id., Ex. 17 at REL-01965). Rather, Medtronic representatives use

their expertise to recommend the right device for the right situation, which will save customers

money over the long term. (Id.) Read in context, the language Relator’s counsel quotes about

the “disadvantages of focusing on price” means that there is more to consider than just the list

price of each company’s devices. It is not an instruction to provide free services in exchange for

purchases.

        Relator’s counsel next abandons the text of the documents altogether and launches into a

diatribe on the ensuing pages, claiming that because Medtronic could not compete on quality or

on price, it had to resort to paying kickbacks in the form of free device checks. (Pl.’s

Supplemental Br. at 14-15). Relator’s counsel’s musings on this topic are a work of pure fiction;

they are not based on the actual content of the VBS materials.3

        Relator concludes her discussion of the VBS materials by arguing that they taught sales

representatives to reward customer loyalty while threatening to withdraw free services from

physicians who “altered their buying behavior.” (Id. at 18). None of the passages Relator cites

even remotely supports this claim. She first cites a roleplaying exercise that says a hypothetical

doctor “might miss out on valuable capabilities Medtronic offers” if he starts using a

competitor’s device. (Id., Ex. 17 atREL-01945).4 The document does not specify what those


3
  In the midst of her discussion of the Value Based Service materials, Relator cites an unrelated slide deck that
provides a template for district meetings in Q4 FY11. (Pl.’s Supplemental Br. at 16) (Ex. 17, REL-01788-812).
Relator argues that this document is “material evidence that Medtronic viewed the free services as the most
important element of sales.” (Id.) Her only support for that sweeping statement is one page in which the word
“Service” appears “as the top bullet point of what was being sold.” (Id.) Notably, this document says nothing
whatsoever about device checks or free business consulting. No reasonable person would regard the word “service,”
by itself, to be material evidence of anything.
4
  Relator actually cites to REL-01922 in her brief, but the quoted language does not appear on that page. (Pl.’s
Supplemental Brief at 18).


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“capabilities” are, but the context provided by the rest of these materials suggests that it is a

reference to the technical capabilities of Medtronic’s products. Indeed, the very next paragraph

discusses the advantages of Medtronic’s remote follow-up technology, which allows a

physician’s office staff—not Medtronic representatives—to perform device checks over the

Internet. (Id. at REL-01946). That paragraph notes that if the hypothetical doctor switched

suppliers, she and her staff would need to spend more time doing device checks in person,

because the competitor’s technology does not allow for remote checks. (Id.) This passage

discusses the drawbacks of using devices with inferior technology; it says nothing about

punishing disloyal doctors.

       Finally, Relator cites another roleplaying scenario that obliquely references Medtronic’s

expertise in helping physicians develop marketing plans. (Id. at REL-01951). This passage

barely says anything at all; it certainly does not state or even imply that the help would be

provided free of charge. This vague, passing reference to marketing assistance from a document

written in 2006 is not even relevant evidence of the scheme Relator has alleged. Cf. Stewart, 120

F.3d at 433-34. It falls far short of being a material addition to the extensive, prior public

disclosures.

                                          CONCLUSION

       For all of the foregoing reasons, Relator does not qualify as an original source, and

summary judgment should be entered in favor of Medtronic.




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                                  Respectfully submitted,


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